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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

CHRISTIAN GARCIA,                                 §
                                                  §
     Plaintiff,                                   §
                                                  §
v.                                                §      Civil Action No. 4:19-cv-00913-O
                                                  §
SANRAJ ENTERPRISES, INC. et al.,                  §
                                                  §
     Defendants.                                  §


                                              ORDER

         On January 27, 2020, Plaintiff filed a Notice of Settlement. See Notice of Settlement,

ECF No. 17. The Notice of Settlement informed the Court that Plaintiff reached settlement of all

issues pertaining to this case. The parties are therefore directed to file the appropriate dismissal

papers—a stipulation of dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), or an

agreed motion with the corresponding proposed order—with the Clerk’s Office on or before

February 24, 2020. If further proceedings become necessary or desirable, the parties should

immediately file a joint status report with the Court.

         SO ORDERED on this 29th day of January, 2020.



                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE




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